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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------X
BRENDON NELSON,
                                                           Civil Docket No.: 21-cv-777

                                   Plaintiff,

        -against-
                                                           CLASS ACTION
                                                           COMPLAINT
ROBINHOOD FINANCIAL LLC
ROBINHOOD SECURITIES, LLC
ROBINHOOD MARKETS, INC.,

                                   Defendants.             Plaintiff Demands a
                                                           Trial by Jury

-------------------------------------------------------X


                                       NATURE OF THE ACTION

    1. Robinhood is an online brokerage firm.

    2. Robinhood purposefully, willfully, and knowingly removing the stock “GME” from its
       trading platform in the midst of an unprecedented stock rise thereby deprived retail
       investors of the ability to invest in the open-market and manipulating the open-market.


                                                  PARTIES
    3. Plaintiff Brendon Nelson was and is a citizen of the Commonwealth of Massachusetts.

    4. Defendant Robinhood Financial LLC is a Delaware corporation with its principal place of
       business at 85 Willow Road, Menlo Park, California 94025. It is a wholly-owned
       subsidiary of Robinhood Markets, Inc. Robinhood Financial LLC is registered as a
       broker-dealer with the U.S. Securities & Exchange Commission (“SEC”). Defendant
       Robinhood Financial LLC acts as an introducing broker and has a clearing arrangement
       with its affiliate Defendant Robinhood Securities, LLC.

    5. Defendant Robinhood Securities, LLC is a Delaware corporation with its principal place
       of business at 500 Colonial Center Parkway, Suite 100, Lake Mary, Florida 32746. It is a
       wholly owned subsidiary of Defendant Robinhood Markets, Inc. Defendant Robinhood
       Securities, LLC is registered as a broker-dealer with the SEC. Defendant Robinhood
       Financial LLC acts as a clearing broker and clears trades introduced by its affiliate
       Defendant Robinhood Financial.
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6. Defendant Robinhood Markets, Inc. is a Delaware corporation with its principal place of
   business at 85 Willow Road, Menlo Park, California 94025. Defendant Robinhood
   Markets, Inc. is the corporate parent of Defendants Robinhood Financial LLC and
   Robinhood Securities, LLC.

7. The above-named corporate defendants herein referred to collectively as “Robinhood.”

                             JURISDICTION AND VENUE
8. This Court has subject-matter jurisdiction over this action pursuant to 28 U.S.C. §
   1332(d)(2). The aggregate claims of all members of the proposed class and subclass(es)
   are in excess of $5 million, exclusive of interest and costs, and there are more than 100
   putative class members. Many members of the proposed class are citizens of a state
   different from Defendant.

9. Pursuant to 28 U.S.C. § 1391, this Court is the proper venue for this action because a
   substantial part of the events, omissions, and acts giving rise to the claims herein
   occurred in this District where Robinhood, distributed, marketed, advertised, and sold the
   trading services which are the subject of the present complaint. Finally, venue is
   appropriate in this District pursuant to 28 USC § 1391(b)(2) because a substantial part of
   the acts and omissions that gave rise to this Complaint occurred or emanated from this
   District.

10. This Court has personal jurisdiction over Robinhood because it is authorized to do
    business and does conduct business in New York, and because it has specifically
    marketed, advertised, and made substantial sales in New York, and has sufficient
    minimum contacts with this state and/or sufficiently avails itself of the markets of this
    state through its promotion, sales, and marketing within this state to render the exercise of
    jurisdiction by this Court permissible.


                              FACTUAL ALLEGATIONS
11. Robinhood is an online brokerage firm. Its customers place securities trades through the
    firm’s website, by using a web-based application (or “app”). Robinhood permits
    customers to purchase and sell securities, including futures contracts.

12. Robinhood has experienced significant growth as a relatively new online brokerage firm.
    In 2019, Robinhood raised $323 million in funding at a $7.6 billion valuation. The firm
    markets itself primarily to younger investors and claims over 10 million users of its
    trading app.

13. On or about March 23, 2016, Robinhood’s official Twitter account stated: “Let the people
    trade.” They have since disregarded their mantra and have blocked access for millions of
    its customers to trade particular securities.
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   14. On or around January 11, 2021, stocks in GameStop Corp. (“GME”) began to rise.

   15. At that time, Robinhood allowed retail investors to trade GME on the open market.

   16. On or about January 27, 2021 Robinhood, in order to slow the growth of GME and
       deprived their customers of the ability to use their service, abruptly, purposefully,
       willfully, and knowingly pulled GME from their app. Meaning, retail investors could no
       longer buy or even search for GME on Robinhood’s app.

   17. Upon information and belief, Robinhood’s actions were done purposefully and
       knowingly to manipulate the market for the benefit of people and financial intuitions who
       were not Robinhood’s customers.

   18. Since pulling the stock from their app, GME prices have gone up, depriving investors of
       potential gains.

   19. Additionally, in the event GME goes down, Robinhood has deprived investors of
       “shorting” GME in the hopes the price drops.

   20. In sum, Robinhood has completely blocked retailer investors from purchasing GME for
       no legitimate reason, thereby depriving retailer investors from the benefits of
       Robinhood’s services.

   21. The Financial Industry Regulatory Authority (“FINRA”), which governs brokers like
       Robinhood, espouses rule 5310 regarding “Best Execution and Interpositioning.” Rule
       5310.01 requires that Robinhood “must make every effort to execute a marketable
       customer order that it receives promptly and fully.” By failing to respond at all to
       customers’ placing timely trades—and outright blocking customers from trading a
       security—Robinhood has breached these, among other, obligations and caused its
       customers substantial losses due solely to its own negligence and failure to maintain
       adequate infrastructure.

   22. Robinhood continues to randomly pull other securities from its app for no legitimate
       reason.

   23. Upon information and belief, Robinhood is pulling securities like GME from its platform
       in order to slow growth and help benefit individuals and institutions who are not
       Robinhood customers but are Robinhood large institutional investors or potential
       investors.


Plaintiff’s Experience
   24. On the morning on January 28, 2021, Plaintiff used his Robinhood app, searched for
       GME on Robinhood’s app, and found it was unavailable. The stock did not even appear,
       although GME is a publicly traded company available on all other platforms.
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25. Thus, Plaintiff, like so many others, lost out on all earning opportunities.

                           CLASS ACITON ALLEGATIONS
26. Plaintiff brings claims pursuant to Federal Rule of Civil Procedure 23 on behalf of the
    following Class, as defined below:

   All Robinhood customers within the United States.

27. Additionally, or in the alternative, Plaintiff brings claims pursuant to Federal Rule of
    Civil Procedure 23 on behalf of the following Subclass, as defined below:

   All Robinhood customers within the United States who were not able to execute
   trades on GME after Robinhood knowingly, willfully, and purposefully removed it
   completely from their platform.

28. Excluded from the Class are the Robinhood entities and their current employees, counsel
    for either party, as well as the Court and its personnel presiding over this action.

29. This action has been brought and may properly be maintained as a class action against
    Robinhood pursuant to the provisions of Federal Rule of Civil Procedure 23.

30. Numerosity: The precise number of members of the proposed Class is unknown to
    Plaintiff at this time, but, based on information and belief, Class members are so
    numerous that their individual joinder herein is impracticable. Based on information and
    belief and publicly available reports, Class members number in the hundreds of
    thousands and up to ten million. Subclass members are likely in the thousands. All Class
    and Subclass members may be notified of the pendency of this action by reference to
    Robinhood’s records, or by other alternative means.

31. Commonality: Numerous questions of law or fact are common to the claims of Plaintiff
    and members of the proposed Class. These common questions of law and fact exist as to
    all Class members and predominate over questions affecting only individual Class
    members. These common legal and factual questions include, but are not limited to the
    following:

   a. Whether Robinhood knowingly failed to provide the financial services that were
      needed to handle reasonable consumer demand, including trading securities that are
      available on every other competitive trading platform;

   b. Whether Robinhood failed to provide the duty of care to their customers when they
      purposefully removed GME;

   c. Whether Robinhood removed GME purposefully to harm their customers’ positions
      in GME and benefit their own potential financial gains;
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   d. Whether Robinhood violated FINRA Rule 5310, among other FINRA rules, state
      rules, and federal regulations;

   e. Whether Robinhood violated consumer protection laws in failing to disclose that its
      services would not include the ability to trade on GME, and other securities, for
      substantial periods of time;

   f. Whether Robinhood was in breach of its legal, regulatory, and licensing requirements
      by failing to provide adequate access to financial services;

   g. Whether Robinhood was in breach of its contracts and/or the implied covenant of
      good faith and fair dealing in connection with its failure to provide financial services;

   h. Whether Robinhood was negligent or grossly negligent by failing to provide financial
      services in a timely manner due to its own possible nefarious desires;

   i. Whether Robinhood breached its fiduciary duties to customers by failing to provide
      adequate access to financial services;

   j. Whether Robinhood was unjustly enriched by its conduct;

   k. Whether Plaintiff and the other Class members were injured by Robinhood’s conduct,
      and if so, the appropriate class-wide measure of damages, restitution, and other
      appropriate relief, including injunctive relief.

   l. Whether Plaintiff and the other Class members are entitled to injunctive and
      declaratory relief.


32. Typicality: The claims of the named Plaintiff are typical of the claims of the proposed
    Class in that the named Plaintiff was a customer during the class period and was unable
    to trade GME and place time-sensitive trades on GME and sustained damages as a result
    of Robinhood’s wrongful conduct.

33. Adequate Representation: Plaintiff will fairly and adequately represent the interests of
    the Class in that he has no conflicts with any other Class members. Plaintiff has retained
    competent counsel experienced in prosecuting complex class actions, including those
    involving financial services, and they will vigorously litigate this class action.

34. Predominance and Superiority: There is no plain, speedy, or adequate remedy other
    than by maintenance of this class action. A class action is superior to other available
    means, if any, for the fair and efficient adjudication of this controversy. Prosecution of
    separate actions by individual Class members would create the risk of inconsistent or
    varying adjudications, establishing incompatible standards of conduct for the Defendant.
    Additionally, given the relatively modest damages sustained by most individual Class
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    members, few, if any, proposed Class members could or would sustain the economic
    burden of pursuing individual remedies for Robinhood’s wrongful conduct. Treatment as
    a class action will achieve substantial economies of time, effort, and expense, and provide
    comprehensive and uniform supervision by a single court. This class action presents no
    material difficulties in management.

35. Class action certification is warranted under Fed. R. Civ P. 23(b)(1)(A) because the
    prosecution of separate actions by individual members of the proposed Class would
    create a risk of inconsistent or varying adjudications with respect to individual Class
    members, which may produce incompatible standards of conduct for Defendants. 34.
    Class action certification is warranted under Fed. R. Civ P. 23(b)(1)(B) because the
    prosecution of separate actions by individual members of the proposed Class would
    create a risk of adjudications with respect to individual Class members which may, as a
    practical matter, be dispositive of the interests of the other members not parties to the
    adjudications or substantially impair or impede their ability to protect their interests.

36. The prerequisites to maintaining a class action for injunctive or equitable relief pursuant
    to Fed. R. Civ. P. 23(b)(2) are met as Robinhood has acted or refused to act on grounds
    generally applicable to the Class, thereby making final injunctive, declaratory, or
    equitable relief appropriate with respect to the Class as a whole. 36. Class action
    certification is also warranted under Fed. R. Civ P. 23(b)(3) because questions of law or
    fact common to the Class members predominate over any questions affecting only
    individual members, and a Class action is superior to other available remedies for the fair
    and efficient adjudication of this controversy. The amount of damages available to the
    individual Plaintiff is insufficient to make litigation addressing Robinhood’s conduct
    economically feasible for most in the absence of the class action procedure.
    Individualized litigation also presents a potential for inconsistent or contradictory
    judgments, and increases the delay and expense to all parties and the court system
    presented by the legal and factual issues of the case. By contrast, the class action device
    presents far fewer management difficulties and provides the benefits of a single
    adjudication, economy of scale, and comprehensive supervision by a single court.

37. Class action certification is also warranted under Fed. R. Civ P. 23(c)(4) because
    questions of law or fact common to the Class members may be certified and decided by
    this Court on a class wide basis.



                                  CAUSE OF ACTION I
                                  For Breach of Contract

38. Plaintiffs hereby incorporate by reference the factual allegations set forth
    above.
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39. In order to use the Robinhood trading platform, a potential customer must enter into the
    Customer Agreement with Robinhood.

40. Plaintiff and all class members did enter into a Customer Agreement with Robinhood.

41. Robinhood breached its Customer Agreement by, among other things, failing to disclose
    that its platform was going to randomly pull a profitable stock from its platform; that
    Robinhood failed to provide adequate explanation to their customers; that Robinhood
    knowingly put their customers at a disadvantage compared to customers who used other
    trading apps; that Robinhood failed to provide access to its own financial incentives to
    pull certain securities including GME; that Robinhood’s prohibited plaintiffs from
    performing in a timely manner (or at all) under the contract; that Robinhood failed to
    comply with all applicable legal, regulatory, and licensing requirements; and that
    Robinhood failed to exercise trades and actions requested by customers.

42. As such, Robinhood breached its Customer Agreement with Plaintiff and Class members.

43. Robinhood’s failure to perform and its breaches of the Customer Agreement resulted in
    damages and losses to Plaintiff and Class members and continues to expose them to harm
    because Robinhood continues to fail to perform under the Customer Agreement. These
    losses reflect damages to Plaintiff and Class members in an amount to be determined at
    trial or separate proceedings as necessary.


                              CAUSE OF ACTION II
           Breach of the Implied Covenant of Good Faith and Fair Dealing

44. Plaintiffs hereby incorporate by reference the factual allegations set forth above.

45. Plaintiffs and members of the Class and Subclass entered into the Customer Agreement
    with Defendant Robinhood to open a Robinhood trading account. They agreed to
    Robinhood’s Terms and Conditions by using Robinhood’s website and trading platform.

46. Plaintiffs and members of the Class and Subclass fulfilled their obligations under these
    contracts by adhering to their terms and using Robinhood’s trading services through its
    website and trading platform.

47. Robinhood was obligated to provide the trading services required under those contracts at
    all times, including but not limited to, trades for GME.

48. When initially signing up for Robinhood, Plaintiff and all those similarly situated could
    and most actually did trade GME.

49. Robinhood unfairly interfered with the rights of Plaintiffs and members of the Class and
    Subclass to receive the benefits of the Customer Agreement by, among other things, (i)
    failing to provide services necessary to carry out a trade; (ii) failing to provide certain
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   trading services whatsoever; (iii) failing to inform individuals in a timely member of the
   drastic changes in trading abilities; and (iv) prohibiting plaintiffs from buying GME for
   Robinhood’s own pecuniary interest and not disclosing those interest to Plaintiffs and all
   Class and Subclass members.

50. Robinhood’s conduct has caused Plaintiffs and members of the Class and Subclass harm,
    losses, and damages. These losses reflect damages to Plaintiffs and members of the Class
    and Subclass in an amount to be determined at trial or separate proceedings as necessary.


                                 CAUSE OF ACTION III
                                     Negligence

51. Plaintiffs hereby incorporate by reference the factual allegations set forth above.
    Robinhood had a duty to exercise reasonable care in conducting and facilitating
    transactions for its customers.

52. Robinhood had a duty to exercise reasonable care in providing trades on the free, open
    market for its customers.

53. Robinhood unlawfully breached its duties by, among other things, (i) removed GME
    without notice from its trading app; (ii) failed to provide financial services related to
    GME; (iii) failing to notify customers in a timely manner of the GME “blackout.”

54. Robinhood’s conduct as set forth in this Complaint was want of even scant care, and its
    acts and omissions were and continue to be an extreme departure from the ordinary
    standard of conduct. Their actions breach any duty of care to their customers, but are also
    inconsistent with the standard of care expected from similar firms in the open market.

55. Upon information and belief, no institutions similar to Robinhood has ever outright
    banned customers from purchasing a specific share of a specific security.

56. Robinhood essentially abandoned its customers altogether by pulling GME, a standard of
    care so far below what is required for a business engaging in time sensitive trading
    services that it amounts to a complete abandonment of its duties.

57. Robinhood’s grossly negligent and wrongful breaches of its duties owed to Plaintiffs and
    members of the Class and Subclass proximately caused losses and damages that would
    not have occurred but for Robinhood’s gross breach of its duty of due care. These losses
    reflect damages to Plaintiffs and members of the Class and Subclass in an amount to be
    determined at trial or separate proceedings as necessary.

                                CAUSE OF ACTION IV
                                Breach of Fiduciary Duty

58. Plaintiff hereby incorporates by reference the factual allegations contained herein.
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   59. As a licensed provider of financial services, Robinhood at all times relevant herein was a
       fiduciary to Plaintiff and Class members and owed them the highest good faith and
       integrity in performing its financial services on their behalf. Robinhood also acted as a
       fiduciary to each and every customer who agreed to the Customer Agreement.

   60. Robinhood breached its fiduciary duties to Plaintiff and Class members by, among other
       things, failing to disclose that its platform was going to remove GME purchases in a
       timely manner; actually removing GME; removing GME for its own pecuniary benefits;
       that Robinhood failed to provide access to its financial services in a timely manner; that
       Robinhood failed to comply with all applicable legal, regulatory, and licensing
       requirements; and that Robinhood failed to exercise trades and actions requested by
       customers in a complete and timely manner (also required by FINRA Rule 5310).

   61. Robinhood’s conduct has caused Plaintiff and Class members’ harm, losses, and damages
       and continues to expose them to harm because Robinhood continues to breach its
       fiduciary duties. These losses reflect damages to Plaintiff and Class members in an
       amount to be determined at trial or separate proceedings as necessary.


RELIEF REQUEST:
   1. Enter an immediate injunction requiring Robinhood to reinstatement GME on their
      trading platform;

   2. Enter an award for plaintiffs to be determined;

   3. Enter an award for attorneys fees and costs;

   4. Enter an award for punitive damages for the willful, wanton, and reckless behavior of
      Defendants;

   5. Any other relief this Court deems just and fit.


Date: January 28, 2021
                                     Respectfully,


                                     _________________________
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                                     One Penn Plaza, Suite 4905
                                     New York, New York 10119
